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FILED

UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA 709 WAR 20 PH IZ 24
ORLANDO DIVISION
'S.OISTRICT COURT
MIDDLE DISTRICT OF FLOR!
UNITED STATES OF AMERICA ORLANDO. FLORIDA
CASE NO 6:08-er-176-Orl-28GJK

Vv. (Forfeiture)

FRANK L. AMODEO

VERIFIED CLAIM OF RICHARD P. JAHN, JR., TRUSTEE, RELATED TO
PROCEEDS OF THE SALE OF 509 RIVERFRONT PARKWAY

Richard P. Jahn, Jr., hereby declares under penalty of perjury, as provided by 28
U.S.C. §1746, as follows:

I. I am Trustee in bankruptcy in the chapter 7 case of Winpar Hospitality
Chattanooga, LLC, BK 07-11908 (Winpar). This case continues to be administered in the
Bankruptcy Court for the Eastern District of Tennessee at Chattanooga.

2. The property at 509 Riverfront Parkway, Chattanooga, TN was owned by
Winpar when it filed its Chapter 7 petition on May 18, 2007. As its Trustee in
bankruptcy, I am a bona fide purchaser of this real property pursuant to 11 U.S.C.
§544(a)(3).

3. On the date of bankruptcy, 509 Riverfront Parkway became property of
Winpar’s bankruptcy estate, pursuant to 11 U.S.C. §541. The land was sold through
orders of the bankruptcy court in April, 2008.

4. If the United States through this Court is entitled to the funds in my
possession, then I may make claim for administrative costs related to the bankruptcy

administration. Also, liens were attached to the proceeds of sale by court order.
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5. I presently hold the sale proceeds of 509 Riverfront Parkway adversely to
the government. I believe the Bankruptcy Court for the Eastern District of Tennessee has
exclusive jurisdiction over these funds pursuant to 28 U.S.C. §1334(e).

6. I have not been served with process in this action, and the proceeds from

the sale of 509 Riverfront Parkway are presently in my custody and control.

Respectfully submitted:

By:
Richard P. Jahn, Jr., BPR 61433(Tenn.)
1200 Mountain Creek Road

Suite 160

Chattanooga, TN 37405

(423) 870-2125 phone / (423) 870-2129 fax

 

Trustee for Winpar Hospitality Chattanooga, LLC

CERTIFICATE OF SERVICE

I hereby certify that on the / 9 day of March, 2009, a true copy of the foregoing
pleading was mailed, First-Class postage pre-paid, to AUSA Anita Cream at 400 N.
Tampa Street, Suite 3200, Tampa, FL 33602.

 

Richard P. Jahn, Jr.
